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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    HUAWEI TECHNOLOGIES CO. LTD.,               §
                                                §
                  Plaintiff,                    §
                                                §
    v.                                          § Case No. 2:16-cv-52-JRG-RSP
                                                § Case No. 2:16-cv-55-JRG-RSP
    T-MOBILE US, INC. & T-MOBILE USA,           § Case No. 2:16-cv-56-JRG-RSP
    INC.,                                       § Case No. 2:16-cv-57-JRG-RSP
.                                               §
                  Defendants.                   §

                                             ORDER

           Before the Court are Movant-Intervenor Nokia Solutions and Networks US LLC and

    Nokia Solutions and Networks OY’s Partially Unopposed Motions for Leave to Intervene. (Dkt.

    No. 32 (2:16-cv-52-JRG-RSP); Dkt. No. 33 (2:16-cv-55-JRG-RSP); Dkt. No. 34 (2:16-cv-56-

    JRG-RSP); Dkt. No. 33 (2:16-cv-57-JRG-RSP).) The Court finds the Motions for Leave to

    Intervene are GRANTED. The Court reserves ruling on whether Nokia’s counterclaims will be

    severed and tried separately.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 14th day of June, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
